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                                                                                                         6/26/20

                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK
                                                                              SO ORDERED 6/26/20

ENEL GREEN POWER NORTH AMERICA,
INC., ENEL KANSAS, LLC, and ENEL                                              Alison J. Nathan, U.S.D.J.
MINNESOTA HOLDINGS, LLC,
                                                         18-CV-05882 (AJN)
                        Plaintiffs,
                                                         JOINT STIPULATION OF
          - against -                                    DISMISSAL WITH
                                                         PREJUDICE
GERONIMO ENERGY, LLC,

                        Defendant.


       Plaintiffs Enel Green Power North America, Inc., Enel Kansas, LLC, and Enel Minnesota

Holdings, LLC, and Defendant Geronimo Energy, LLC, through their undersigned counsel, hereby

jointly stipulate to the dismissal of this action, with prejudice, in accordance with Rule

41(a)(l)(A)(ii) of the Federal Rules of Civil Procedure, each party to bear his, her, or its own costs

and attorneys' fees.

Daea: nod6 2020
                                                  DAVIS POLK & WARDWELL LLP

                                                  By:                        _
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Minnesota LLC                                     Enel Kansas, LLC and
                                                  Enel Minnesota Holdings, LLC
         Case 1:18-cv-05882-AJN Document 138 Filed 06/26/20 Page 2 of 2




                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


ENEL GREEN POWER NORTH AMERICA,
INC., ENEL KANSAS, LLC, and ENEL
MINNESOTA HOLDINGS, LLC,
                                                         18-CV-05882 (AJN)
                        Plaintiffs,
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Dated: June18
            _, 2020
CIRESI CONLIN LLP                                 DAVIS POLK & WARDWELL LLP

By:_______________________                        By:_______________________
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